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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DETROIT WILL BREATHE,
TRISTAN TAYLOR, NAKIA WALLACE,                              Case No. 2:20-cv-12363
JAZTEN BASS, LAUREN ROSEN, LAURYN                           Hon: Laurie J. Michelson
BRENNAN, AMY NAHABEDIAN, ZACHARY
KOLODZIEJ, LAUREN BRANCH,
LILLIAN ELLIS, OLIVIA PUENTE,
IMAN SALEH, MARGARET HENIGE,
CAYLEE ARNOLD, and ALEXANDER ANEST,

             Plaintiffs,
vs.

CITY OF DETROIT, a municipal corporation,
MAYOR MICHAEL DUGGAN, acting in his official
and individual capacities, CHIEF JAMES CRAIG, acting in his official
and individual capacities, OFFICER STEPHEN ANOUTI, SERGEANT
TIMOTHY BARR, OFFICER DAVID HORNSHAW, OFFICER MARIAH
ERARD, and OFFICER DOES 1-100 inclusive,
acting in their respective individual capacities, all jointly and severally,

           Defendants.
__________________________________________________________________

             JOINT ORDER TO PRESERVE THE STATUS QUO

      For the reasons stated in prior Orders and by mutual agreement of the parties,

the City of Detroit, including the Detroit Police Department, and all other officers,

agents, and departments under the Police Department’s control (for purposes of this

order, “the City”) is enjoined from:
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    Using striking weapons (including, but not limited to, batons and shields),

      chemical agents, (including, but not limited to, tear gas and pepper spray), or

      rubber bullets (aka “baton rounds”) against any individual peacefully

      engaging in protest or demonstrations who does not pose a physical threat to

      the safety of the public or police;

    Deploying chemical agents or a sound canon (aka “LRAD” for long-range

      acoustic device) against persons peacefully engaging in protest or

      demonstrations without an audible warning and a reasonable amount of time

      to disperse;

    Placing in a chokehold or ramming with a vehicle any individual attending a

      demonstration;

    Tightening the zip ties (aka “flex cuffs”) or handcuffs placed on any individual

      to the point that the restraints cause physical injury, including loss of

      circulation or change in color;

    Arresting any demonstrators en masse without probable cause.

      In the event that Plaintiffs seek relief for an alleged violation of this Order,

the City must respond to the motion within 24 hours.

      As set forth in ECF No. 37, nothing in this Order (1) suspends any laws that

prohibit violent or destructive actions by protesters or (2) prevents Detroit police

from (a) reasonably and lawfully protecting themselves and the public against

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violence perpetrated by protesters that could harm officers or the public (including

protesters throwing objects at police, such as frozen water bottles, bricks, bottle

rockets, or cherry bombs); or (b) taking reasonable and lawful action against

protesters who violate any laws or resist arrest (e.g. ordering protesters to cease

unlawful activity, or using reasonable force to arrest a protester if there is probable

cause to believe that the protester violated the law).

      This order will remain in effect until further order of the Court.

Dated: September 18, 2020


                                 s/Laurie J. Michelson
                                 LAURIE J. MICHELSON
                                 UNITED STATES DISTRICT JUDGE



/s/ “with consent” Jack Schulz                  /s/ Maria Fracassa Dwyer
 SCHULZ LAW PLC                                CLARK HILL PLC
 Jack W. Schulz (P78078)                       Reginald M. Turner (P40543)
 Amanda M. Ghannam (P83065)                    Maria Fracassa Dwyer (P60946)
 PO Box 44855                                  Christopher M. Trebilcock (P62101)
 Detroit, MI 48244                             500 Woodward Avenue, Suite 3500
 (313) 246-3590                                Detroit, MI 48226
 jackwschulz@gmail.com                         (313) 965-8300
 amandamghannam@gmail.com On                   rturner@clarkhill.com
 behalf of the National Lawyers Guild,         mdwyer@clarkhill.com
 Detroit/Michigan Chapter Attorneys for        ctrebilcock@clarkhill.com
 Plaintiffs                                    On behalf of City of Detroit and
                                               Mayor Michael Duggan, Chief James
                                               Craig, Officer Stephen Anouti, Officer
                                               David Hornshaw, Officer Mariah
                                               Erard, Sergeant Timothy Barr and
                                               Officer Does 1-100, inclusive

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 /s/ “with consent” Julie H. Hurwitz
 GOODMAN HURWITZ & JAMES, PC
 Julie H. Hurwitz (P34720)
 William H. Goodman (P14173)
 Melissa A. Brown (P79127)
 1394 E. Jefferson Ave.
 Detroit, MI 48207
 (313) 567-6170
 jhurwitz@goodmanhurwitz.com
 bgoodman@goodmanhurwitz.com
 mbrown@goodmanhurwitz.com
 On behalf of the National Lawyers
 Guild, Detroit/Michigan Chapter
 Co-counsel for Plaintiffs

 /s/ “with consent” Sean Riddle
  THE RIDDELL LAW FIRM PLLC
  Sean Riddell (P81302)
  400 Renaissance Center, Ste. 2600
  Detroit, MI 48243
  (313) 497-0074
  sriddell@riddelllawfirm.com
  On behalf of the National Lawyers
  Guild, Detroit/Michigan Chapter
 Co-counsel for Plaintiffs

Date: September 18, 2020




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